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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

  CHRISTOPHER FINITZ, KYLE IRVINE,
  and TODD SMITH, Derivatively on Behalf
                                                   Case No. 1:18-cv-09640
  of RIOT BLOCKCHAIN, INC.,
                                                   VERIFIED STOCKHOLDER
                         Plaintiffs,
                                                   DERIVATIVE COMPLAINT
                 v.
                                                   JURY TRIAL DEMANDED
  JOHN R. O’ROURKE, MICHAEL M.
  BEEGHLEY, JEFFREY G.
  MCGONEGAL, BARRY HONIG,
  ANDREW J. KAPLAN, JASON LES, and
  ERIC SO,

                         Defendants,

                 -and-

  RIOT BLOCKCHAIN, INC., a Nevada
  corporation,

                         Nominal Defendant.

       Plaintiffs Christopher Finitz (“Finitz”), Kyle Irvine (“Irvine”), and Todd Smith (“Smith”

and, collectively, “Plaintiffs”), by their undersigned attorneys, derivatively and on behalf of

Nominal Defendant Riot Blockchain, Inc. (“Riot” or the “Company”), file this Verified

Stockholder Derivative Complaint against John R. O’Rourke (“O’Rourke”), Michael M. Beeghley

(“Beeghley”), Jeffrey G. McGonegal (“McGonegal”), Barry Honig (“Honig”), Andrew J. Kaplan

(“Kaplan”), Jason Les (“Les”), and Eric So (“So” and, collectively, the “Individual Defendants”

and together with Riot, “Defendants”) for breaches of fiduciary duty, corporate waste, and unjust

enrichment. Plaintiffs allege the following upon personal knowledge as to themselves and their

own acts, and upon information and belief as to all other matters, based on the investigation

conducted by their attorneys. This investigation included, among other things, a review of the

Company’s announcements and press releases, filings made by the Company with the United


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States Securities and Exchange Commission (“SEC”), corporate governance documents available

on the Company’s website, securities analysts’ reports about Riot, and news reports and other

publicly available information about the Company.

                                  NATURE OF THE ACTION

       1.      This stockholder derivative action arises from the Individual Defendants’ breaches

of fiduciary duties owed to the Company, corporate waste, and unjust enrichment, which have

harmed the Company’s reputation and exposed Riot to hundreds of millions of dollars in liability

for violations of state and federal laws.

       2.      Riot is the fifth iteration of a biotechnology company that initially developed and

manufactured diagnostic machinery and products ranging from in vitro diagnostics to veterinary

care. From the 2005 until 2012, the Company was named AspenBio Pharma, Inc. In 2013, the

Company’s name was changed to Venaxis, Inc. (“Venaxis”).

       3.      In November 2016, the Company, then named Venaxis, acquired Bioptix, Inc.

(“Bioptix”) and, effective December 1, 2016, changed its name to Bioptix. Shortly thereafter,

Honig, an activist investor, began positioning himself and his associates to take control of the

Company. Honig acquired a significant stake in Bioptix and moved quickly to successfully replace

the then existing board members with candidates of his choosing, including Beeghley and

O’Rourke.

       4.      After Honig and his associates gained control over the Company, in late 2017 they

began to make a number of fateful changes to the Company and its business structure.

       5.      The catalyst for these changes was the sudden popularity and success of

cryptocurrencies. Throughout 2017, cryptocurrencies like Bitcoin and Ethereum experienced an

incredible price surge – Bitcoin experienced an exponential leap in price from less than $1,000 per

share at the beginning of 2017 to nearly $20,000 per share in mid-December 2017. In an effort to


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capitalize on the enormous profits generated by the cryptocurrency wave, the Individual

Defendants suddenly shifted the Company’s entire business structure.

       6.      In October 2017, the Company announced it was changing its name from Bioptix

to Riot Blockchain, Inc. and pivoting to become a leader in blockchain technology. The Individual

Defendants immediately began to represent to the investing public that their transition to the

cryptocurrency industry was an undeniable success.

       7.      The Individual Defendants’ timing was perfect, as investors rode the rising wave

of Bitcoin through November and December of 2017. Riot’s share price reflected this strong

market confidence, increasing from just $8.09 per share on October 3, 2017, to $38.60 – a

staggering increase of over 377 percent in only two months.

       8.      However, it was not long before information belying the Individual Defendants’

repeated assurances came to light. Far from a well-seasoned leader in blockchain technologies,

Riot was merely a vehicle for the sole purpose of facilitating the Individual Defendants’ access to

the lucrative cryptocurrency market.

       9.      On February 16, 2018, CNBC published an in-depth report which made it clear that

Riot’s blockchain business was not what it seemed. The investigation raised a number of red flags

about the Company, including, inter alia: (i) Riot had no real involvement with the cryptocurrency

or blockchain business; (ii) the Company’s name change and business plan pivot were suspicious

and likely to attract SEC scrutiny; (iii) Company insiders sold substantial amounts of personally

held stock at suspicious times; and (iv) the relationships between some of the Company’s officers

and directors and defendant Honig were cause for concern.




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           10.   The market reaction was immediate: Riot stock plummeted from $17.20 per share

on February 15, 2018, to $11.46 on February 16, 2018, representing a market capitalization loss

of over $66 million in one day.

           11.   Having lost the faith and goodwill of the public as a result of the Individual

Defendants’ wrongdoing, the Company’s share price has continued to decline since February. Riot

is now also subject to extensive litigation for which it may have to pay hundreds of millions of

dollars.

           12.   Even as the Company is suffering financially and otherwise, many of the Individual

Defendants have come out fiscally unscathed. A number of the Individual Defendants received

more than $18 million in proceeds from their sales of Company stock based on insider information.

Others profited handsomely from their positions on the Board, in the form of compensation and

other fees, which they received without justification and while they were breaching their fiduciary

duties to the Company and its stockholders.

           13.   The onslaught of litigation has revealed a great deal about Honig and his extensive

web of suspicious and illicit business dealings. For example, on September 7, 2018, the SEC filed

a complaint in this District against Honig, O’Rourke, and others (the “SEC Complaint”) 1, which

includes allegations that Honig led a group of investors in a chain of highly profitable “pump-and-

dump” schemes that enriched the named defendants while leaving investors with virtually

worthless shares. The SEC Complaint includes allegations that Honig has previously orchestrated

schemes in which he manufactured market interest in a small or struggling company, waited for

the stock price to increase, and sold his shares at a time when the stock was artificially inflated.




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    SEC v. Honig, et al., No. 1:18-cv-08175 (S.D.N.Y. Sept. 7, 2018).



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       14.     The Individual Defendants, with Honig at the helm, aggressively took control over

the Company, discarded its business purpose and plan and replaced it with a veritable shell

company. After using the Company to generate substantial personal profits, certain of the

Individual Defendants walked away, leaving the value and the reputation of Riot in ruins.

Plaintiffs bring this action against the Individual Defendants to compensate for the harm they have

caused to the Company.

                                 JURISDICTION AND VENUE

       15.     Jurisdiction is conferred by 28 U.S.C. § 1332. Complete diversity among the

parties exists and the amount in controversy exceeds $75,000, exclusive of interests and costs.

       16.     This Court retains general jurisdiction over each named defendant pursuant to the

Company’s Bylaws that contain an exclusive forum bylaw provision for a court in the state of New

York. In particular, the provision states:

                              ARTICLE XIV FORUM SELECTION

       Forum Selection . Unless the Corporation consents in writing to the selection of an
       alternative forum, a state or federal court located within the State of New York shall
       be the sole and exclusive forum for (i) any derivative action or proceeding brought
       on behalf of the Corporation, (ii) any action asserting a claim for breach of a
       fiduciary duty owed by any director, officer or other employee of the Corporation
       to the Corporation or the Corporation’s stockholders, (iii) any actions asserting a
       claim arising pursuant to any provision of the Nevada Revised Statutes, the Articles
       of Incorporation or these Bylaws, in each case as amended, or (iv) any action
       asserting a claim governed by the internal affairs doctrine, in each such case subject
       to such court having personal jurisdiction over the indispensable parties named as
       defendants therein. Any person or entity purchasing or otherwise acquiring any
       interest in shares of capital stock of the Corporation shall be deemed to have notice
       of and consented to the provisions of this Article XIV.

       17.     Additionally, this Court has specific jurisdiction over each named nonresident

defendant because these defendants maintain sufficient minimum contacts with New York to

render jurisdiction by this Court permissible under traditional notions of fair play and substantial




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justice. Finally, exercising jurisdiction over any nonresident defendant is reasonable under these

circumstances.

       18.       Venue is proper in this Court. Riot’s common stock trades on the NASDAQ in this

District, a substantial portion of the transactions and wrongs complained of herein, including the

Individual Defendants’ primary participation in the wrongful acts detailed herein and aiding and

abetting and conspiracy in violation of fiduciary duties owed to Riot occurred in this District, and

the Individual Defendants have received substantial compensation in this District by doing

business here.

                                            PARTIES

Plaintiffs

       19.       Plaintiff Finitz is a current stockholder of Riot and has continuously held Riot

common stock since December 21, 2017. Finitz is a resident of New York.

       20.       Plaintiff Irvine is a current stockholder of Riot and has continuously held Riot

common stock since January 18, 2018. Irvine is a resident of Virginia.

       21.       Plaintiff Smith is a current stockholder of Riot and has continuously held Riot

common stock since December 1, 2017. Smith is a resident of Tennessee.

Nominal Defendant

       22.       Nominal Defendant Riot is a Nevada corporation with its principal executive

offices located at 202 6th Street, Suite 401, Castle Rock, Colorado 80104. Riot stock trades on

the NASDAQ under the ticker symbol “RIOT.”

Defendants

       23.       Defendant O’Rourke has been the Company’s Chief Executive Officer (“CEO”)

since January 2017 and Chairman of the Board since November 3, 2017. Previously, he served as

a director of the Company, a position to which he was nominated by Honig, since January 2017.


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According to the Company’s Schedule 14A filed with the SEC on May 14, 2018 (the “2018

Proxy”), as of May 9, 2018, O’Rourke beneficially owned 257,221 shares of Riot stock or 1.9%

of the Company’s outstanding stock as of that date. O’Rourke’s 2017 executive compensation

includes a $60,000 salary, $2,322,00 in stock awards, $609,842 in option awards which totals to

$2,991,842 in compensation.         Additionally, O’Rourke sold 30,383 shares of his stock for

$869,256.35 of profit while he had access to material, nonpublic information about Riot.

O’Rourke is a citizen of Florida.

       24.     Defendant Beeghley was Riot’s CEO from April 2017 to November 2017;

Chairman of the Board from January 2017 to November 2017; and a director from November 2016

to November 2017. In 2017, Riot paid Beeghley $339,739 in compensation, including $9,000 of

salary, $270,000 in stock awards, and $60,739 in option awards. Beeghley is a citizen of Georgia.

       25.     Defendant McGonegal served as the Company’s Chief Financial Officer (“CFO”)

from June 2003 until February 2018, when the Company appointed Rob Chang (“Chang”) as CFO.

In 2015 and 2016, McGonegal was paid $651,207 and $513,625, respectively, in total

compensation. According to the Company’s Schedule 14A filed with the SEC on March 26, 2018

(the “2017 Proxy”), effective June 30, 2017, the Company entered into a retention agreement with

McGonegal providing for McGonegal’s continued service as the Company’s CFO and Principal

Accounting Officer until April 30, 2018, at an annual base salary of $275,005. Additionally, in

2017, McGonegal received $127,800 in stock awards, $140,000 from a non-equity incentive plan,

and $169,843 in supplemental compensation. Together with his salary, this amounts to total

compensation of $709,648. Pursuant to a modification of the retention agreement, McGonegal

served solely as the Company’s Principal Accounting Officer until April 30, 2018, and will




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continue for four months thereafter as a consultant of the Company to provide transition services

as requested by the CEO, CFO, and Board. McGonegal is a citizen of Colorado.

       26.     Defendant Honig, through his ownership of Riot securities, influence over Riot’s

Board of Directors (the “Board”) and top executives, including O’Rourke, and continuous course

of business dealings with Riot, acted as a control person of the Company throughout the relevant

period as alleged herein. Honig has reportedly helped dozens of small companies go public,

primarily through mergers with the shells of failed or failing businesses, in return for significant

amounts of stock or convertible notes. Honig sold 1,583,005 shares of his stock in the Company

for $17,173,646.91 in proceeds while he had access to material, nonpublic information about Riot.

Honig is a citizen of Florida.

       27.     Defendant Kaplan is and has been since May 2017, a director of the Company, is a

member of the Audit Committee and Compensation Committee, and Chair of the Governance

Committee. In 2017, Kaplan received total compensation of $88,220, including his fees paid in

cash of $8,000 and stock awards of $80,220. Kaplan previously served on the board of directors

of Majesco Entertainment Company (“Majesco”) while Honig was CEO. Kaplan is a citizen of

New Jersey.

       28.     Defendant Les is and has been since November 2017, a director of the Company,

is a member of the Company’s Audit Committee and Governance Committee, and Chair of the

Compensation Committee. According to the 2017 Proxy, Les is a professional poker player and

is qualified to serve as a director “based on the fact that he has been active in the industry as a

miner, studying protocol development and evaluating a variety of crypto investment strategies.”

Les received total compensation of $56,625 in 2017, which includes $6,000 of fees paid in cash

and $50,625 of stock awards. Les is a citizen of California.




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       29.     Defendant So served as a director of the Company from October 2017 until

February 2018, and served as Chair of the Audit Committee and a member of the Compensation

Committee and the Governance Committee. In 2017, So was paid $65,675 in compensation,

including $2,000 in fees paid in cash and $63,675 in stock awards. So was previously the chief

legal and development officer at MUNDOmedia Ltd., a company in which Honig and O’Rourke

have heavily invested. So is a citizen of Canada.

       30.     Defendants O’Rourke, Beeghley, and McGonegal are referred to herein as the

“Officer Defendants.”

       31.     Defendants Kaplan and Les are referred to herein as the “Director Defendants.”

       32.     Defendants Kaplan, Les, and So are referred to herein as the “Audit Committee

Defendants.”

       33.     Defendants O’Rourke and Honig are referred to herein as the “Insider Selling

Defendants.”

       34.     Collectively, the defendants identified in ¶¶ 23-29 are referred to herein as the

“Individual Defendants.”

                        THE INDIVIDUAL DEFENDANTS’ DUTIES

       35.     By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the business and corporate affairs of the Company, the Individual

Defendants owe the Company and its stockholders the fiduciary obligations of good faith, loyalty,

and candor and are required to use their utmost ability to control and manage the Company in a

fair, just, honest, and equitable manner.     The Individual Defendants are required to act in

furtherance of the best interests of the Company and its stockholders so as to benefit all

stockholders equally and not in furtherance of their personal interest or benefit. Each director and

officer of the Company owes to the Company and its stockholders the fiduciary duty to exercise


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good faith and diligence in the administration of the affairs of the Company and in the use and

preservation of its property and assets, and the highest obligations of fair dealing.

       36.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of the Company, directly and/or indirectly, exercised control over the

wrongful acts complained of herein.

       37.     As senior executive officers, directors, and/or controlling stockholders of a

publicly-traded company, whose common stock was registered with the SEC pursuant to the

Exchange Act and traded on the NASDAQ, the Individual Defendants had a duty to prevent the

dissemination of inaccurate and untruthful information regarding Riot’s financial condition,

performance, growth, operations, financial statements, business, products, management, earnings,

internal controls, and business prospects, so as to ensure that the market price of the Company’s

common stock would be based upon truthful and accurate information.

       38.     To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the Company. By virtue of such duties, the officers and directors of Riot were required

to, among other things:

               a.      ensure that the Company complied with its legal obligations and

requirements, including acting only within the scope of its legal authority and disseminating

truthful and accurate statements to the SEC and the investing public;

               b.      conduct the affairs of the Company in a lawful, efficient, business-like

manner to provide the highest quality performance of its business, to avoid wasting the Company’s

assets, and to maximize the value of the Company’s stock;




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                 c.      refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company;

                 d.      properly and accurately guide investors and analysts as to the true financial

condition of the Company at any given time, including making accurate statements about the

Company’s financial results and prospects, and ensuring that the Company maintained an adequate

system of financial controls such that the Company’s financial reporting would be true and

accurate at all times;

                 e.      remain informed as to how the Company conducted its operations, and,

upon receipt of notice or information of imprudent or unsound conditions or practices, make

reasonable inquiry in connection therewith, and take steps to correct such conditions or practices

and make such disclosures as necessary to comply with federal and state securities laws; and

                 f.      ensure that the Company is operated in a diligent, honest, and prudent

manner in compliance with all applicable federal, state, and local laws, rules, and regulations.

        39.      The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as directors and officers of the Company, the absence

of good faith on their part, and a reckless disregard for their duties to the Company and its

stockholders, which Individual Defendants were aware, or should have been aware, posed a risk

of serious injury to the Company.

        40.      In addition, the Company adopted a Code of Ethics and Business Conduct (the

“Code of Ethics”) in October 2017 requiring that the Company’s business “be conducted with

honesty and integrity and in accordance with the highest ethical and legal standards” and to

promote:

        •     Honest and ethical conduct, including the ethical handling of actual or
              apparent conflicts of interest between personal and professional relationships;



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       •     Compliance with applicable governmental laws, rules and regulations;

       •     Full, fair, accurate, timely, and understandable disclosure in reports and
             documents that the Company files with, or submits to, the Securities and
             Exchange Commission and in other public communications made by the
             Company;

       •     The prompt internal reporting of violations of the Code to an appropriate
             person or persons identified in the Code; and

       •     Accountability for adherence to the Code.

       41.      The Code of Ethics requires that the Individual Defendants comply with all

applicable laws in which the Company conducts business. The Code of Ethics specifically states:

       The Company and all Covered Persons should respect and comply with all of the
       applicable laws, rules and regulations of the United States and the other countries
       and state, local and other jurisdictions in which the Company conducts its business
       or in which the Company’s stock is traded. The Company is subject to legal
       requirements that are both numerous and complex. All Covered Persons should
       understand those laws that apply to them in the performance of their jobs and take
       steps to ensure that the parts of the Company’s operations with which they are
       involved are conducted in conformity with those laws. The failure of Covered
       Persons to adhere to the letter and the spirit of the law could result in both personal
       and corporate civil or criminal liability. Each Covered Person is personally
       responsible for complying with the law. In addition, each Covered Person is
       charged with the responsibility of reporting to the Compliance Officer (as defined
       in Section 8) any behavior or conduct related to the Company’s business or affairs
       that could reasonably constitute a criminal offense. If a Covered Person has
       questions or any concerns about whether his or her conduct or the conduct of others
       may result in personal or criminal liability, the Covered Person should seek specific
       guidance and advice from the Compliance Officer or from counsel, which may
       include the Company’s counsel.

       42.      The Code of Ethics also emphasizes the importance of accuracy and timeliness of

financial reporting and public disclosures:

       7. Public Reporting.
       As a public company, it is of critical importance that the Company’s public
       disclosures, including filings with the Securities and Exchange Commission, be
       accurate and timely. A Covered Person may be called upon to provide necessary
       information to assure that the Company’s public disclosures are complete, fair and
       understandable. The Company expects Covered Persons to take this responsibility




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       very seriously and to provide prompt, accurate answers to inquiries related to the
       Company’s public disclosure requirements.

       All of the Company’s books, records, accounts and financial statements must be
       maintained in reasonable detail, must appropriately reflect the Company’s
       transactions and must conform both to applicable legal requirements and to the
       Company's system of internal controls.

       In addition, each Covered Person must promptly bring to the attention of his or her
       supervisor or the Compliance Officer any information that the Covered Person may
       have concerning (i) significant deficiencies in the design or operation of internal
       control over financial reporting that could adversely affect the Company’s ability
       to record, process, summarize and report financial data or (ii) any fraud, whether or
       not material, that involves management, directors, or other Covered Persons.

       43.    The Code of Ethics specifically prohibits conflicts of interest and insider trading as

a matter of Company policy. The Code of Ethics specifically states:

       Conflicts of interest are prohibited as a matter of Company policy, except under
       guidelines approved by the Company’s board of directors. A “conflict of interest”
       exists when a person’s private interest interferes or conflicts, or appears to interfere
       or conflict, with the interests of the Company or the person’s duties to the
       Company. Conflicts of interest may also arise when a person, or members of his or
       her family, receives improper personal benefits as a result of his or her position in
       the Company or takes an action or has a personal interest that may adversely
       influence his or her objectivity or the exercise of sound, ethical business judgment.

                                          *       *       *

       Covered Persons are also prohibited from (a) taking for themselves personally
       opportunities that properly belong to the Company or are discovered through the
       use of corporate property, information or position; (b) using corporate property,
       information or position for personal gain; and (c) competing with the Company.
       Covered Persons owe a duty to the Company to advance its legitimate interests
       when the opportunity to do so arises.

                                          *       *       *

       Prohibition on insider trading.

       U.S. Federal securities laws prohibit persons with access to or knowledge of
       material, non-public information about the Company from buying, selling, or
       otherwise trading in the Company's securities. In addition, the Company has
       adopted a Corporate Policy and Procedure on Insider Trading which prohibits
       trading in the Company's securities at certain times and under certain
       circumstances.



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       44.     The Company’s Corporate Policy and Procedure on Insider Trading provides

guidelines with respect to trading in the Company’s securities by insiders. These guidelines

explicitly prohibit employees, officers, directors, and all other insiders from trading Riot stock

while in possession of material inside information.

Additional Duties of the Audit Committee Defendants

       45.     The Audit Committee of the Board also has a charter (the “Audit Charter”) that

specifies the additional duties owed to the Company by the Audit Committee Defendants.

According to the Audit Charter, the Audit Committee is responsible for assisting the Board with

oversight of the Company’s financial statements, accounting and financial reporting processes,

and internal controls. The Audit Charter describes certain tasks of the Audit Committee as follows:

       1.      Review and discuss with the independent auditors the matters required to
               be discussed by the independent auditors under Auditing Standard No. 16,
               as adopted by the Public Company Accounting Oversight Board
               (“PCAOB”) and amended from time to time, or any successor standard, rule
               or regulation.

       2.      Discuss with management and legal counsel the status of pending litigation,
               taxation matters, compliance policies and other areas that may materially
               impact the Company's financial statements or accounting policies.

       3.      Review with management and the independent auditors the effect of
               regulatory and accounting initiatives, as well as any off-balance sheet
               structures, on the Company’s financial statements.

       46.     The Audit Committee Defendants were required to supervise and ensure the

integrity of the Company’s financial statements. The Audit Charter specifies the following tasks:

       1.      Review and discuss with management and the independent auditors the
               Company’s annual audited financial statements and quarterly financial
               statements (including disclosures under the section entitled Management’s
               Discussion and Analysis of Financial Condition and Results of Operations
               and any report by the independent auditors related to the financial
               statements.




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        2.      Based on the review, the Committee shall make its recommendation to the
                Board as to the inclusion of the Company’s audited consolidated financial
                statements in the Company’s annual report on Form 10-K.

        3.      Review and discuss earnings press releases with management and the
                independent auditors.

        4.      Oversee the preparation of the report required by the rules of the SEC to be
                included in the Company's annual proxy statement.

        47.     Finally, the Audit Committee Defendants were required to assist the Board with

oversight of internal and disclosure controls.       The Audit Charter includes the following

responsibilities:

        1.      Review and discuss the adequacy and effectiveness of the Company's
                internal controls, including periodically receiving reports from the
                Company’s independent auditors and Chief Executive Officer and Chief
                Financial Officer regarding the Company’s system of internal controls.

        2.      Review and discuss the adequacy and effectiveness of the Company’s
                disclosure controls and procedures, including periodically receiving reports
                from management regarding the Company's disclosure controls and
                procedures.

        3.      Establish and oversee procedures for the receipt, retention and treatment of
                complaints received by the Company regarding accounting, internal
                accounting controls or auditing matters, and confidential, anonymous
                submission by employees of concerns regarding questionable accounting or
                auditing matters.

        48.     The Audit Committee Defendants owed additional, clearly defined duties to the

Company, with which they did not comply.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

        49.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the truth and further aided and abetted and assisted each other in

breaching their respective duties.



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       50.     The purpose and effect of the conspiracy, common enterprise, and common course

of conduct was, among other things, to: (i) deceive the investing public, including stockholders

of Riot, as to the Company’s operations, financial condition, and compliance policies; (ii) facilitate

the Insider Selling Defendants’ illicit sales of more than $18 million of their shares while in

possession of material, nonpublic information; and (iii) enhance the Individual Defendants’

executive and directorial positions at Riot and the profits, power, and prestige that the Individual

Defendants enjoyed as a result of holding these positions.

       51.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully, recklessly, or negligently to

conceal material facts, fail to correct such misrepresentations, and violate applicable laws. The

actions described herein occurred under the authority of the Board, thus each of the Individual

Defendants who are directors of Riot was a direct, necessary, and substantial participant in the

conspiracy, common enterprise, and common course of conduct complained of herein.

       52.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of wrongdoing, each of the Individual Defendants acted with actual or constructive

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was or should have been aware of his or her overall contribution to and

furtherance of the wrongdoing.

       53.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Riot and was at all times acting within the course

and scope of such agency.




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                              SUBSTANTIVE ALLEGATIONS

Factual Background

       54.     On September 13, 2016, Venaxis announced that it acquired Bioptix, a privately-

held company based in Colorado that developed a proprietary technology platform for the

detection of molecular interactions.

       55.     At the time of the acquisition, Honig owned 10.04 percent of Venaxis through his

company GRQ Consultants, Inc., as reported in Venaxis’ Form SC 13D/A filed with the SEC on

September 13, 2016. Honig did not approve of the Company’s decision to acquire Bioptix and

wrote a letter to then CEO Stephen Lundy (“Lundy”) pushing for the immediate reconstitution of

the board.

       56.     In a letter to Venaxis, attached to the September 13, 2016 Form SC 13D/A as Ex-

99.4, Honig proposed “a five-person slate of new nominees” and called for a special meeting of

stockholders to vote on whether to replace the current board members with his preferred

candidates.

       57.     Honig’s five nominees included John Stetson (“Stetson”) 2 Jesse Sutton (“Sutton”),

O’Rourke, and Beeghley. Stetson, Sutton, and Beeghley were all formerly associated with

Majesco, now known as PolarityTE, Inc. 3




2
  Stetson is a named defendant, along with Honig and O’Rourke, in the SEC Complaint, as well
as the securities class action against Mabvax Therapeutics currently pending in the Southern
District of California. In re MabVax Therapeutics Sec. Litig., Case No. 3:18-cv-01160 (S.D.Ca.,
Jun. 4, 2018).
3
  PolarityTE is currently subject to two securities class actions pending in the District of Utah,
captioned, Moreno v. PolarityTE et al., No. 2:18-cv-00510, and Lawi v. PolarityTE, Inc. et al.,
No. 2:18-cv-00541.



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       58.     Honig continued to increase his holdings in Venaxis and by December 1, 2016, he

had an 11.1 percent ownership stake in the company, which made him the Company’s largest

stockholder.

       59.     On December 1, 2016, Honig again demanded a special meeting of Company

stockholders to remove and replace three directors with candidates of his choice, including

O’Rourke.

       60.     Honig’s unrelenting campaign to gain control over the board was successful. On

January 6, 2017, the Company appointed O’Rourke and Mike Dai (“Dai”) as directors and as

members of the Nominating and Governance, Audit, and Compensation Committees. Following

the appointment of O’Rourke and Dai, Honig-appointed directors constituted a majority of every

board committee.

       61.     In April 2017 Lundy resigned and on April 6, 2017 Beeghley, who was then serving

as chairman of the board and a member of the Audit Committee, was appointed CEO. As a result,

Honig, having fought for Beeghley’s placement as a director, became the veritable benefactor of

the head of the Company.

       62.     Honig’s control over the Company continued to increase throughout the year and

by August 21, 2017, he and his associates controlled close to thirty percent of the Company, as

reflected in the following table:

 Name of Stockholder                            Number of Shares Owned
 Barry Honig                                    543,000
 GRQ Consultants                                30,600
 Alan Honig                                     20,000
 Mark Groussman and Melechdavid Inc.            500,000
 Titan Multi-Strategy Fund I, Ltd.              593,650

       63.     Honig and GRQ Consultants owned 573,600 shares, or roughly ten percent of the

Company. Two members of Honig’s family also owned Company stock: Alan Honig, Honig’s



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father, owned 20,000 shares and Jonathan Honig, Honig’s brother, owned approximately ten

percent of the Company through an investment fund, Titan Multi-Strategy Fund I, Ltd. Mark

Groussman, a business partner of Honig’s, who is also a named defendant in the SEC Complaint,

owned a total of 500,000 shares in both family trusts and his company, Melechdavid, Inc.

Bioptix Pivots to Riot Blockchain

       64.     On September 25, 2017, the Company filed a Form 8-K with the SEC in which it

stated that, effective September 19, 2017, its state of incorporation had changed from Colorado to

Nevada. This was a protracted move to position to the Company for its pivot to blockchain

technologies – just months before, Nevada became the first state to ban local governments from

taxing blockchain use.

       65.     Then, on October 3, 2017, the Company announced that its board had authorized a

special cash dividend of approximately $1.00 per common share to be paid to the Company’s

stockholders of record as of October 13, 2017. The cash dividend was paid on October 18, 2017

and totaled approximately $9,562,000.

       66.     The board’s approval of this dividend was baffling given the Company’s deficit of

more than $120 million as of September 30, 2017. Furthermore, Riot had cash and cash equivalents

of only $13 million and no significant sources of revenue.

       67.     Soon after, on October 4, 2017, the Company issued a press release announcing

that it would change its name to Riot Blockchain, Inc., in conjunction with a drastic pivot in

business strategy to investing in and operating blockchain technologies.           Beeghley spoke

confidently about Riot’s future prospects in the press release, stating that the Company had “the

insight and network to effectively grow and develop blockchain assets.” Riot also announced that

it had already invested in goNumerical Ltd. (dba “Coinsquare”), “one of Canada’s leading

exchanges for trading digital currencies.” The press release stated in relevant part:


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       Bioptix Inc. (Nasdaq: BIOP) today announced it is changing its name to Riot
       Blockchain, Inc., and has reserved and plans to change its Nasdaq ticker symbol to
       RIOT, in line with a shift in direction of the company. The name and symbol
       change are subject to Nasdaq approval. Moving forward, Riot Blockchain’s focus
       will be as a strategic investor and operator in the blockchain ecosystem with a
       particular focus on the Bitcoin and Ethereum blockchains.

       As part of this focus, the company announces it has made a strategic investment in
       Coinsquare Ltd., one of Canada’s leading exchanges for trading digital currencies.
       This investment into a blockchain-focused company is indicative of similar
       opportunities Riot Blockchain plans to pursue, including possible acquisitions of
       businesses serving the blockchain ecosystem.

       “At Riot Blockchain, our team has the insight and network to effectively grow and
       develop blockchain assets,” said Michael Beeghley, Chief Executive Officer of
       Riot Blockchain. “With new applications being developed for blockchain every
       day, this is a rapidly growing and evolving market. We are excited to have partnered
       with and led an investment in Coinsquare, a company we believe is well positioned
       to capitalize on the opportunity in this sector.”

       68.    On October 5, 2017, Riot filed a Form 8-K with the SEC with an attached “Investor

Presentation” expounding on the incredible value of the cryptocurrency business and the important

role Riot would play, “[a]s first mover as [a] NASDAQ listed pure play Blockchain company.”

       69.    Then, on October 17, 2017, Riot announced that it had completed yet another

acquisition. The Company entered into a purchase agreement to acquire 52 percent ownership in

another Canadian company, Tess, Inc. (“Tess”). 4 Tess was a developer of blockchain-based

payment services for wholesale telecom carriers. In the press release announcing the acquisition,




4
  Honig was the intermediary who introduced O’Rourke to Lee Ann Wolfin, the head of Cresval
Capital Corp., a mining company into which Tess was planning to merge. Her late father, Arthur
Wolfin, was Cresval Capital’s founder and chief executive. He also headed Levon Resources Ltd.,
another mining company that did deals with two other companies whose stockholders included
Honig, O’Rourke, Michael Brauser and Philip Frost. Levon owned a large chunk of Pershing Gold
Corp., and also did a reverse merger with SciVac Therapeutics Inc. (now part of VBI Vaccines, a
third company backed by Honig and Philip Frost. Chris Carey, Cool Mara Riot, Part Two:
Securities-fraud case against South Florida group reverberates through additional companies,
http://sharesleuth.com/investigations/2018/09/cool-mara-riot-part-two-securities-fraud-case-
against-south-florida-group-reverberates-through-additional-companies (Sept. 25, 2018).



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Beeghley was quoted as saying, “The telecom payment platform of TESS is a prime example of

how blockchain-based technologies can be leveraged to disrupt established industries. I believe

that Riot Blockchain is poised to take advantage of this revolution in digital transactions as we see

increasing adoption of blockchain protocols in our everyday lives.”

       70.     Riot’s October 27, 2017 Form 8-K filed with the SEC revised the size of Riot’s

market opportunity from $150 billion to $170 billion as a result of the aforementioned acquisitions.

       71.     In a November 2, 2017 press release, the Company announced that it had entered

into an agreement to acquire cryptocurrency mining equipment to assist with its blockchain

technology expansion.

       72.     On November 13, 2017, despite the Company’s substantial purchasing spree, the

Company’s Form 10-Q for the period ended September 30, 2017, (the “Q3 2017 Form 10-Q”)

revealed that Riot was without revenue and its financial situation was unlikely to improve. The

Q3 2017 Form 10-Q explained that, “[t]he Company has experienced recurring losses and negative

cash flows from operations,” and “expects to continue to incur losses from operations for the near-

term” which could be significant. The Q3 2017 Form 10-Q also described the Company’s history

of losses and identified a number of risk factors that could affect the Company’s ability to continue

as a going concern. According to the Q3 2017 Form 10-Q:

       General Risks

       We have a history of operating losses, and we may not be able to achieve or sustain
       profitability; we have recently shifted to an entirely new business and may not be
       successful in this new business.

       We are not profitable and have incurred losses since our inception. We expect to
       continue to incur losses for the foreseeable future, and these losses could increase
       as we continue to work to develop our business. We were previously engaged in
       veterinary and life science-oriented businesses and were not successful in those
       businesses. In late 2017, we determined to instead pursue a blockchain and digital
       currency-related business, initially through investments in existing companies. Our
       initial efforts in this new business will focus primarily on bitcoin mining and the


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establishment of a cryptocurrency exchange and a futures brokerage operation.
Currently, however, our only operations are at our bitcoin mining facility (“mine”)
in Oklahoma, and that mine is still in a relatively early stage of development. Our
current strategy is new and unproven, is in an industry that is itself new and
evolving, and is subject to the risks discussed below. This strategy, like our prior
ones, may not be successful, and we may never become profitable. Even if we
achieve profitability in the future, we may not be able to sustain profitability in
subsequent periods.

Our costs are growing rapidly, which could seriously harm our business or increase
our losses.

Our mining operations are costly, and we expect our expenses, including those
related to acquisitions, to grow in the future. This expense growth will continue as
we broaden our network of computers to mine (“miners”), as we develop and
implement an exchange feature, which will require more computing infrastructure,
and as we hire additional employees to support potential future growth. Our costs
will be based on development growth of operations and may not be offset by a
corresponding growth of our revenue. We plan to continue to invest in our
infrastructure to take advantage of various opportunities, potentially in countries
and in activities where we do not expect significant short-term monetization, if any.
Our expenses may be greater than we anticipate, and our investments to make our
business more efficient may not succeed and may outpace monetization efforts. In
addition, we expect to incur marketing and other operating expenses to grow and
expand our operations and to remain competitive. Increases in our costs without a
corresponding increase in our revenue would increase our losses and could
seriously harm our business and financial performance.

                                  *       *       *

We have an evolving business model.

As cryptocurrency assets and blockchain technologies become more widely
available, we expect the services and products associated with them to evolve. In
order to stay current with the industry, our business model may need to evolve as
well. From time to time, we may modify aspects of our business model relating to
our product mix and service offerings. We cannot offer any assurance that these or
any other modifications will be successful or will not result in harm to our business.
We may not be able to manage growth effectively, which could damage our
reputation, limit our growth and negatively affect our operating results. Such
circumstances could have a material adverse effect on our ability to continue as a
going concern or to pursue our new strategy at all, which could have a material
adverse effect on our business, prospects or operations.

                                  *       *       *




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Cryptocurrency-Related Risks

Regulatory changes or actions may alter the nature of an investment in us or restrict
the use of cryptocurrencies in a manner that adversely affects our business,
prospects or operations.

As cryptocurrencies have grown in both popularity and market size, governments
around the world have reacted differently to cryptocurrencies, with certain
governments deeming them illegal, and others allowing their use and trade but, in
some jurisdictions, such as in the U.S., subject to extensive, and in some cases
overlapping, regulatory requirements, as well as unclear and evolving
requirements. Ongoing and future regulatory actions may impact our ability to
continue to operate, and such actions could affect our ability to continue as agoing
concern or to pursue our new strategy at all, which could have a material adverse
effect on our business, prospects or operations.

Our change in our business strategy and name could subject us to increased SEC
scrutiny.

We previously were engaged in veterinary- and life science-oriented businesses (as
a diagnostics company and then a research tools company), under the name Bioptix.
In late 2017, we determined to instead pursue a blockchain and digital currency
(specifically bitcoin)-related business, initially through investments in existing
companies. The SEC has announced that it is scrutinizing public companies that
change their name or business model in a bid to capitalize upon the hype
surrounding blockchain technology, and has suspended trading of certain of such
companies. SEC Chairman Jay Clayton warned that it is not acceptable for
companies without a meaningful track record in the sector to dabble in blockchain
technology, change their name and immediately offer investors securities without
providing adequate disclosures about the risks involved. As a result, we could be
subject to substantial SEC scrutiny that could require devotion of significant
management and other resources and potentially have an adverse impact on the
trading of our stock.

                                  *      *       *

Acceptance and/or widespread use of cryptocurrency is uncertain.

Currently, there is a relatively limited use of any cryptocurrency in the retail and
commercial marketplace, thus contributing to price volatility that could adversely
affect an investment in our securities. Banks and other established financial
institutions may refuse to process funds for cryptocurrency transactions, process
wire transfers to or from cryptocurrency exchanges, cryptocurrency-related
companies or service providers, or maintain accounts for persons or entities
transacting in cryptocurrency. Conversely, a significant portion of cryptocurrency
demand is generated by investors seeking a long-term store of value or speculators
seeking to profit from the short- or long-term holding of the asset. Price volatility



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       undermines any cryptocurrency’s role as a medium of exchange, as retailers are
       much less likely to accept it as a form of payment. Market capitalization for a
       cryptocurrency as a medium of exchange and payment method may always be low.

       The relative lack of acceptance of cryptocurrencies in the retail and commercial
       marketplace, or a reduction of such use, limits the ability of end users to use them
       to pay for goods and services. Such lack of acceptance or decline in acceptances
       could have a material adverse effect on our ability to continue as a going concern
       or to pursue our new strategy at all, which could have a material adverse effect on
       our business, prospects or operations and potentially the value of bitcoin or any
       other cryptocurrencies we mine or otherwise acquire or hold for our own account.

                                        *         *    *

       We face risks from the lack of clarity in the corporate governance of many
       cryptocurrency systems.

       Lack of clarity in the corporate governance of many cryptocurrency systems may
       lead to ineffective decision making that slows development or prevents a network
       from overcoming important obstacles. Governance of many cryptocurrency
       systems is by voluntary consensus and open competition. To the extent lack of
       clarity in corporate governance of cryptocurrency systems leads to ineffective
       decision making that slows development and growth, the value of our securities
       may be adversely affected.

       73.     On November 16, 2017, three days after the cautionary Q3 2017 Form 10-Q was

filed, the Company issued a press release announcing that Riot made a strategic investment in

Verady, LLC, “to further advance its technology and increase the size of its team.” In connection

with the strategic investment, O’Rourke stated:

       “This investment continues our commitment to building blockchain
       technologies . . . With recent highs in Bitcoin and other cryptocurrency valuations,
       there is significant market potential for blockchain and digital asset technologies.
       We will continue to increase our involvement and support of the blockchain
       ecosystem, as we ramp up our Bitcoin mining operations.”

       74.     On December 19, 2017, Riot announced a $37 million private placement, the

proceeds of which were to be used for “the expansion of the Company’s Bitcoin mining operations,

strategic investments, and general working capital.”




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       75.     Then, in a December 27, 2017 press release titled, “Riot Blockchain Announces

Adjournment of Annual Meeting of Stockholders,” the Company cancelled the Annual Meeting

twenty-four hours before it was scheduled to occur. The press release stated in relevant part:

       Riot Blockchain, Inc. (Nasdaq: RIOT) (the “Company”) today announced that its
       2017 Annual Meeting of Stockholders scheduled for December 28, 2017 (the
       “Annual Meeting”), was adjourned to achieve a quorum on the proposals to be
       approved.

       The Annual Meeting has been adjourned to 10:00 a.m. Eastern Standard Time on
       Thursday, February 1, 2018, at the Boca Raton Resort and Club, 501 East Camino
       Real, Boca Raton, FL33422, to allow additional time for the Company’s
       stockholders to vote on proposals to approve the following:

       1.      To elect as directors the nominees named in the proxy statement;

       2.      To ratify the appointment of EisnerAmper LLP as our independent public
               accountant for the fiscal year ending December 31, 2017;

       3.      To advise us as to whether you approve the compensation of our named
               executive officers (Say-on-Pay); and

       4.      To approve an amendment to the Company’s 2017 Equity Incentive Plan to
               increase the reservation of common stock for issuance thereunder to
               1,645,000 shares from 895,000 shares.

       76.     This postponement was a cause for stockholder concern as reflected by the market’s

reaction: Riot’s stock fell from $31.22 per share on December 26, 2017, to close at $27.23 per

share on December 28, 2017, eliminating over $38 million in market capitalization in two days.

       77.     However, on January 31, 2018, the day before the rescheduled Annual Meeting of

Stockholders was set to take place, the Company issued a second press release titled, “Riot

Blockchain Announces Adjournment of Annual Meeting of Stockholders,” which yet again

cancelled the Annual Meeting without providing any satisfying reason:

       Riot Blockchain, Inc. (Nasdaq: RIOT) (the “Company”) today announced that its
       2017 Annual Meeting of Stockholders (the “Annual Meeting”) was adjourned for
       a second time to achieve a quorum on the proposals to be approved. Under Nevada
       law, a new record date is required to be set.




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           The Company will file and mail a new proxy statement to its shareholders of record
           as soon as practical after its Board of Directors approves the new record date and
           schedules a new date and time for its Annual Meeting.

           78.    On February 6, 2018, in what was likely a thinly veiled reference to Riot, Chairman

of the SEC, Jay Clayton, expressed skepticism about companies that suddenly change their names

and/or business models to take advantage of the profits associated with the growth of virtual

currencies, stating:

           I also have been increasingly concerned with recent instances of public companies,
           with no meaningful track record in pursuing distributed ledger or blockchain
           technology, changing their business models and names to reflect a focus on
           distributed ledger technology without adequate disclosure to investors about their
           business model changes and the risks involved.

The CNBC Investigation

           79.    On February 16, 2018, CNBC published an article titled “CNBC investigates public

company that changed its name to Riot Blockchain and saw its shares rocket.” The article provided

the public with the first in-depth look into the suspicious nature of the Company’s exponential and

improbable expansion.

           80.    The article called attention to a number of the Company’s questionable business

decisions, such as the drastic pivot to blockchain and the postponement of stockholder meetings,

stating:

           As bitcoin hit record highs in late December, a hot new stock was making news on
           a daily basis. Riot Blockchain’s stock shot from $8 a share to more than $40, as
           investors wanted to cash in on the craze of all things crypto.

           But Riot had not been in the cryptobusiness for long. Until October, its name was
           Bioptix, and it was known for having a veterinary products patent and developing
           new ways to test for disease.

           The company did make an investment in a cryptocurrency exchange in September
           and two months later did purchase a company that has cryptocurrency mining
           equipment, but paying more than $11 million for equipment worth only $2 million,
           according to SEC filings.




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       That purchase and the company’s name change aren’t Riot’s only questionable
       moves.

       A number of red flags in the company’s SEC filings also might make investors
       leery: annual meetings that are postponed at the last minute, insider selling soon
       after the name change, dilutive issuances on favorable terms to large investors, SEC
       filings that are often Byzantine and, just this week, evidence that a major
       shareholder was getting out while everyone else was getting in.

                                         *       *      *

       Despite Riot Blockchain’s latest quarterly report showing a company in the red, its
       annual meeting was twice set to take place at the swanky Boca Raton Resort and
       Club in Florida. The resort is known as the “pink palace” and has luxury yachts
       lined up on its dock.

       But with less than one day’s notice, Riot twice “adjourned” its annual meeting, first
       scheduled for Dec. 28 and then for Feb. 1. It’s not clear the company ever planned
       to have the meeting. Numerous employees at the hotel told CNBC it had no
       reservations for either date under the name of Riot Blockchain or any affiliated
       entity.

       81.    The article’s suggestion that Honig was the driving force behind the Company’s

questionable practices was hardly conspicuous. The article stated:

       Riot’s filings reveal that Barry Honig may be the man behind the Riot Blockchain
       curtain.

       That would explain why a company formerly headquartered in Colorado might
       suddenly host its annual meeting in Boca Raton. That sunny location would
       certainly be convenient for Honig, once the company’s largest shareholder, whose
       office is a short drive from the hotel. He once owned more than 11 percent of the
       outstanding common stock, according to SEC filings.

       “My history of investing’s pretty good. I invest in public companies,” Honig told
       CNBC by phone. “It was an investment where I had a return. And I sold some
       shares. There’s nothing wrong with doing that.”

       Honig became active in Riot in April 2016 when it was a veterinary testing
       company with a different name. He led an activist campaign to replace the board in
       September 2016 and won the fight in January 2017.

       After his victory, attorneys say, red flags began to appear.

       Until January, Honig had an extensive website filled with fawning descriptions of
       his investment acumen and what he does for companies when he gets involved.




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       “Barry Honig’s investment portfolio includes a variety of exciting technology and
       biotech companies focused on innovation and progress,” barryhonig.com stated
       before it was taken down.

       “Typically, Barry Honig invests his hard-earned money into a company, and he
       also provides strategic guidance to the company pertaining [sic] a variety of aspects,
       including who should lead the company (he helps put the right people in the right
       places in most of his investments), what goals and timelines that company should
       work towards, and a plan for the best way to achieve those goals,” the website said.

       A visit to the site now only reveals the text: “Under construction.”

       82.    Furthermore, according to the article, upon entering Honig’s Florida-based offices,

the CNBC crew found O’Rourke, rather than Honig:

       That’s the same O’Rourke who made headlines when — less than three months
       after the company changed names and business plans — he sold about $869,000
       worth of shares, according to an SEC filing. He told the crew he was there for a
       meeting with Honig and that we had just missed him.

       O’Rourke initially agreed to a formal interview with CNBC and emailed later to
       say the interview was “confirmed,” adding “I think you’ll be impressed.” Then,
       late the night before, he backed out via email and said he needed to go to the
       Midwest to close an acquisition.

       He agreed to answer questions via email instead. One of CNBC’s first questions
       was whether he worked in the same office as Honig, which could raise eyebrows.

       Securities attorneys told CNBC that if a CEO were using the office of a major
       investor, it might raise concerns about the exchange of information.

       “You just can’t imagine that the CEO and the investor are going to have an
       appropriate wall between them where they’re not engaging in discussions or
       dialogue about what’s appropriate for the company on a day to day basis or in the
       future,” said Richard Birns, a corporate partner at Gibson, Dunn & Crutcher LLP.

       83.    The article quotes Honig as claiming that he was not involved in the decision to

appoint O’Rourke as CEO. In fact, Honig had campaigned for O’Rourke’s appointment to the

Board since 2016.     Additionally, Honig neglected to mention that he was instrumental in

advocating for Beeghley’s initial placement on the Board:

       Despite Honig’s website saying he gives advice on who should lead a company,
       Honig said he had nothing to do with O’Rourke becoming CEO.



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       “The board and Michael Beeghley [the CEO before O’Rourke] are the ones that
       made the decision in regards to John O’Rourke becoming the CEO, okay? John
       O’Rourke doesn’t work for me, okay?” he said.

       84.     The investigation also included details about O’Rourke and Honig’s prior dealings

in the cryptocurrency sector. The article stated:

       Riot is not O’Rourke and Honig’s first cryptocurrency investment.

       In 2013, they were owners in BTX Trader, a cryptocurrency company, which was
       acquired by WPCS, a publicly traded company in which Honig had invested,
       according to court records.

       WPCS bought BTX on Dec. 17, 2013, just 13 days after it was incorporated in
       Delaware, according to SEC filings.

       At the time, WPCS was a communications, infrastructure and contracting company.
       The stock went up to $435.60 on a split-adjusted basis. It’s now trading around $2
       after selling off BTX Trader in 2015, according to SEC filings.

       Just last month, the company changed its name to DropCar after a merger and is
       now a cloud-services-for-cars company.

       O’Rourke, through his lawyer, told CNBC in an email that he made several
       investments with Honig as co-investor. “BTX Trader was one of our first
       investments together in the blockchain sector in 2013,” he said. “I have a good
       relationship with Mr. Honig, and he has been a supportive shareholder of Riot.”

       Honig acknowledges the investment.

       85.     The article went on to quote multiple securities experts who expressed serious

concerns about Riot’s business structure and associated red flags:

       Birns analyzed Riot Blockchain’s SEC filings for CNBC and found additional
       concerns.

       “I see a company that has had a change of control of the board. I see a company
       that has had a change in business. I see a company that has had several dilutive
       issuances immediately following the change of the board and change of the
       business. And I see a stock that has gone zoom,” he said. “And what I understand
       [is] a significant amount of insider selling. So yes, these are red flags.”

       Jacob Zamansky, founder of Zamansky LLC, which specializes in securities fraud,
       also expressed caution.




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       “With the absence of revenue on the company’s current financial statements, I
       would think investors need to be very cautious of a highly speculative stock with a
       lot of red flags,” he said.

       86.     Other questionable practices highlighted in the article include the October 2, 2017,

dividend payout of $9.5 million, the timing of Honig’s trades, and Riot’s drastic overpayment for

bitcoin mining machines. The article stated in relevant part:

       Since Honig’s board shake-up, the company has increased its common stock share
       count from 4.5 million to more than 11.6 million. On Oct. 2, 2017, two days before
       announcing the name change to Riot Blockchain, the board approved a dividend
       payout of more than $9.5 million, according to SEC filings.

       Investors who own more than 5 percent of a company’s outstanding common stock
       are required to file a form known as a 13D, which outlines their holdings.
       Subsequent changes in holdings require a “timely” filing of any changes.

       SEC records spanning 14 months show that Honig filed two 13Ds, including one
       in January 2017 that shows he owned 11.19 percent. After Riot’s name change sent
       the company’s shares soaring, Honig cashed out and filed the second 13D in
       February showing he owned less than 2 percent of outstanding common stock along
       with a small number of warrants. His purchase price ranged from $2.77 to $5.32
       per share, according to the list of trades he provided to the SEC in 2017. Honig’s
       investment dropped below 5 percent, the threshold for SEC filing, on Nov. 28. At
       that point, the stock had already climbed above $20.

       Honig did not disclose his dramatically reduced position in the stock until this
       week.

                                         *      *       *

       Birns questioned how Honig made his filings. “It’s clear that Mr. Honig, through
       himself and through the entities that he controls, owns at least a significant amount
       of stock. Or has the potential to own [a] significant amount of stock in excess of
       what is reported on the 13D,” he said.

       This is not the first time Honig has faced questions over his actions. In 2000, he
       was alleged to have committed stock manipulation. Honig was fined $25,000 and
       suspended for 10 days, according to the Financial Industry Regulatory Authority.
       In 2003, he let his broker’s license lapse.

       “The answer’s no,” Honig said when asked if he still manipulates stocks.

       SEC filings suggest that when Honig began his charge to take over the board, he
       was represented by lawyer Harvey Kesner of Sichenzia Ross Ference Kesner LLP.
       A few months later, Kesner’s law firm appears on Riot Blockchain’s SEC filings.


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Kesner’s company, Paradox Capital Partners LLC, owns Riot stock, according to
SEC filings. When reached by phone, Kesner said he didn’t know anything about
Riot Blockchain and Barry Honig and hung up.

Honig said Kesner was Riot’s attorney, but “his law firm has represented me in
other issues in the past.”

                                *       *      *

Since its name change, Riot has been a very active company, issuing 23 press
releases about acquisitions and new divisions.

One of those acquisitions was Kairos Global Technology Inc., which had been
founded less than two weeks before the purchase. Kairos’ main asset was $2 million
of mining equipment. Riot purchased Kairos for $11.9 million worth of preferred
convertible stock, according to SEC filings.

O’Rourke told CNBC the company paid a premium for the equipment due to a
shortage of mining equipment and difficulties getting it directly from the
manufacturer.

Kairos appears to have many links to Riot. The company was incorporated by Joe
Laxague of Laxague Law Inc., the same lawyer who, SEC filings suggest,
represented another major investor in Riot who has owned more than 7.49 percent
of the company.

Laxague told CNBC he could not comment when reached by phone and hung up.

Kairos’ president was Michael Ho, Nevada records show, a poker player who
played at a tournament with two other professional poker players, both of whom
are on Riot’s advisory board, according to records reviewed by CNBC.

O’Rourke said Riot is using the equipment to mine and that the company is
currently mining in Norway and Canada. Despite the many press releases, there
has been no formal mining announcement.

“We have launched our own Bitcoin mining operation and it will be a focal point
for Riot’s expansion plans moving forward,” is all Riot says on its webpage
dedicated to mining. SEC filings are silent on mining activity.

As for professional poker players advising Riot? O’Rourke told CNBC the players
are investors in the cryptocurrency space with more than 50,000 social media
followers. He called them “thought leaders.”




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        87.     The CNBC article had a devastating effect on Riot’s shares. The Company’s stock

plummeted from $17.20 per share on February 15, 2018, to $11.46 on February 16, 2018,

representing a $66 million loss in market capitalization in a single day.

Insider Sales by Defendants Honig and O’Rourke

        88.     After taking action to improperly inflate the price of Riot’s stock, Honig and

O’Rourke sold their personal holdings in the Company on the basis of their particular knowledge

of Riot’s material, nonpublic information. As Company insiders, and architects of the artificial

inflation scheme, Honig and O’Rourke were privy to material, nonpublic information about the

Company’s true value and prospects. In total, O’Rourke and Honig sold over $18 million worth

of stock at artificially inflated prices.

        89.     Honig sold 1,583,005 shares of his personally held the Riot stock for total proceeds

of $17,173,646.91. Honig strategically timed his sales to maximize profit he received as a result

of the Individual Defendants’ scheme to artificially inflate Riot’s stock price. In the five months

leading up to Riot’s name change on October 4, 2017, Honig sold 13.76% of his stock. Then,

following the improper statements made on October 3, 2017, the Company’s stock price steadily

rose from a low of $8.09 per share to an incredible close of $38.60 per share on December 19,

2017, representing a 377% increase in less than three months. Honig’s sales are suspicious given

that his stock sales represented 98% of his holdings.

        90.     O’Rourke sold 30,383 shares of his personally held Riot stock for proceeds of

$869,256.35. O’Rourke’s strategically timed his sales to maximize profit he received as a result

of the Individual Defendants’ scheme to artificially inflate Riot’s stock price. Then, following the

improper statements made on October 3, 2017, the Company’s stock price steadily rose from a

low of $8.09 per share to a close of $38.60 per share on December 19, 2017, representing a 377%

increase, before beginning to fall in January 2018. O’Rourke did not sell any stock prior to October


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4, 2017. However, after the Company’s stock skyrocketed and only days before it began to fall,

O’Rourke sold nearly 30% of his total holdings.

                                     DAMAGES TO RIOT

        91.     As a result of the Individual Defendants’ wrongful conduct, Riot disseminated false

and misleading statements and omitted material information to make such statements not false and

misleading when made. The improper statements have devastated Riot’s credibility. Specifically,

the Company’s market capitalization has decreased by $310 million, or 83 percent, from its high

in December 2017. Riot has been, and will continue to be, severely damaged and injured by the

Individual Defendants’ misconduct.

        92.     Indeed, the Individual Defendants’ false and misleading statements as alleged

above, have subjected Riot to a lawsuit for violations of the federal securities laws pending in

various courts, captioned Creighton Takata v. Riot Blockchain, Inc. et al., Case No. 3:18-cv-

02293; Roys v. Riot Blockchain, Inc. et al., Case No. 9:18-cv-80225-BB; Joseph J. Klapper, Jr. v.

Riot Blockchain, Inc. et al., Case No. 3:18-cv-8031; and Everson v. Riot Blockchain, Inc., Case

No. 1:18-cv-01292 (collectively, the “Securities Class Actions”).

        93.     In addition to the Securities Class Actions pending against Riot, there are many

actions pending in which Honig and others are implicated in similar wrongdoing. This association,

coupled with the Company’s tainted reputation, will create a shadow over Riot which will

undoubtedly have a negative impact on investors’ and creditors’ willingness to take a chance on

Riot in the future.

        94.     As a direct and proximate result of the Individual Defendants’ actions, Riot stands

to expend millions of dollars. Such expenditures include, inter alia, the costs incurred from:

(i) defending the Securities Class Action Suits, including any associated settlement fees; (ii) the

costs incurred from the SEC investigation; (iii) carrying out internal investigations of wrongdoing;


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and (iv) the excessive compensation and benefits that were paid to the Individual Defendants while

they were breaching their fiduciary duties to the Company.

        95.     Moreover, these actions have irreparably damaged Riot’s corporate image and

goodwill. For at least the foreseeable future, Riot will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies who have been implicated in illegal behavior

and have misled the investing public, such that Riot’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

               PLAINTIFFS’ DERIVATIVE AND DEMAND ALLEGATIONS

        96.     Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

        97.     Plaintiffs bring this action derivatively in the right and for the benefit of the

company to redress the Individual Defendants’ breaches of fiduciary duties, waste of corporate

assets, and unjust enrichment, as well as the aiding and abetting thereof by each of the Individual

Defendants.

        98.     Plaintiffs are owners of Riot common stock and were owners of Riot common stock

at all times relevant hereto.

        99.     Plaintiffs will adequately and fairly represent the interests of the Company and its

stockholders in enforcing and prosecuting its rights.

        100.    As a result of the facts set forth herein, Plaintiffs have not made any demand on the

Riot Board to institute this action against the Individual Defendants. Such a demand would be a

futile and useless act because the Board is incapable of making an independent and disinterested

decision to institute and vigorously prosecute this action.




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       101.    At the time this action was commenced, the Board was comprised of just three

individuals: defendants Kaplan and Les, and nondefendant Remo Mancini (“Mancini”). Demand

is futile as to defendants Kaplan and Les, and is therefore excused.

Demand is Excused as to Defendants Kaplan and Les as They Face a Substantial Likelihood
of Liability for Their Wrongdoing

       102.    The Individual Defendants face a substantial likelihood of liability for their

individual misconduct. Specifically, Kaplan and Les, while serving as directors, made false and

misleading statements in the Company’s SEC filings and press releases, regarding: (i) the extent

and quality of Riot’s investment in cryptocurrency and blockchain products and technology;

(ii) the location of Riot’s principal executive offices; (iii) the Company’s Annual Meeting on

December 28, 2017, and subsequently rescheduled to February 1, 2018; and (iv) the adequacy of

Riot’s internal controls over financial reporting. As directors, Kaplan and Les had a fiduciary duty

to ensure that the Company’s SEC filings, press releases, and other public statements and

presentations concerning its business, operations, prospects, internal controls, and financial

statements were accurate.

       103.    As the ultimate decision-making body of the Company, the Board allowed the

Company to engage in the schemes alleged herein. The fraudulent scheme was carried out in an

effort to artificially inflate the value and potential of the Company thereby allowing the Individual

Defendants to take advantage of a profitable market trend. In knowingly or recklessly participating

in the scheme, Kaplan and Les completely abdicated their fiduciary duties as directors of the

Company.

       104.    Moreover, especially in light of their positions on the Board’s Audit Committee,

Kaplan and Les owed a duty to, in good faith and with due diligence, exercise reasonable inquiry,

oversight, and supervision to ensure that the Company’s internal controls were sufficiently robust



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and effective (and/or were being implemented effectively), and to ensure that the Board’s duties

were being discharged in good faith and with the required diligence and due care. Instead, Kaplan

and Les knowingly and/or with reckless disregard reviewed, authorized and/or caused the

publication of the materially false and misleading statements discussed above that caused the

Company’s stock to trade at artificially inflated prices and misrepresented the financial health of

Riot.

        105.   Kaplan and Les’ making or authorization of these false and misleading statements,

failure to timely correct such statements, failure to take necessary and appropriate steps to ensure

that the Company’s internal controls were sufficiently robust and effective (and/or were being

implemented effectively), and failure to take necessary and appropriate steps to ensure that the

Board’s duties were being discharged in good faith and with the required diligence constitute

breaches of fiduciary duties have resulted in Kaplan and Les facing a substantial likelihood of

liability. If Kaplan and Les were to bring a suit on behalf of Riot to recover damages sustained as

a result of this misconduct, they would expose themselves to significant liability.         This is

something they will not do. For this reason, demand is futile.

Demand on Defendant Kaplan is Futile Due to his Business and Personal Relationships

        106.   Kaplan is inextricably linked with Beeghley, Honig, and O’Rourke through years

of business collaborations, and is thus incapable of impartially considering a demand to commence

and vigorously prosecute this action.

        107.   Kaplan has served on the Board since May 2017.             He is Chairman of the

Nominating and Governance Committee and a member of the Audit and Compensation

Committees. Kaplan held Company stock valued at approximately $152,000, before the fraud was

exposed and clearly has an interest in maintaining a high stock price for Riot so as not to decrease

the value of his holdings.


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        108.    Before serving on the Board of Riot, Kaplan served on the board of directors of

Majesco, an interactive entertainment-based Delaware corporation. Honig was the CEO of

Majesco before Philip Frost helped to orchestrate the company’s reverse merger with the

biotechnology firm, PolarityTE, Inc. Kaplan was named a director of Majesco on October 2, 2015,

the same day that Honig was appointed CEO. 5

        109.    Kaplan is also a director of U.S. Gold Corporation, a company in which Honig is a

major investor.

        110.    Given the extensive, and long-standing business relationships between Kaplan,

Honig, and Beeghley, it is highly unlikely that Kaplan would vote to initiate litigation against the

other Individual Defendants, especially Honig.       Kaplan is incapable of independently and

impartially considering a demand to commence and vigorously prosecute this action and demand

is therefore futile as to Kaplan.

                                          COUNT ONE
                                Against the Individual Defendants
                                 for Breach of Fiduciary Duties

        111.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

fully set forth herein.

        112.    The Individual Defendants each owed Riot and its stockholders the fiduciary duties

of loyalty, good faith, candor, and due care in managing and administering the Company’s affairs.

        113.    The Individual Defendants were required to exercise reasonable and prudent

supervision over the management, practices, controls, and financial affairs of Riot.




5
  Michael Brauser, a named defendant, and alleged co-conspirator of Honig, in the SEC
Complaint, was also named a director of Majesco on October 2, 2015.



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       114.    The Individual Defendants breached their fiduciary duties owed to Riot and its

stockholders by willfully, recklessly, and/or intentionally failing to perform their fiduciary duties.

They caused the Company to waste valuable assets and unnecessarily expend corporate funds.

They also failed to properly oversee Riot’s business and caused the Company to fail to maintain

internal controls, rendering them personally liable to the Company.

       115.      The Officer Defendants either knew, were reckless, or were grossly negligent in

disregarding such substantial and long-running illegal activity. The Officer Defendants either

knew, were reckless, or were grossly negligent in not knowing that: (i) the Company lacked a

meaningful business plan with respect to its cryptocurrency business; (ii) Riot had minimal

investments in cryptocurrency products; (iii) the Company changed its name from Bioptix to Riot

Blockchain merely as a stunt to fraudulently avail itself of the profits caused by the current

cryptocurrency wave and artificially inflate its stock price; (iv) Riot’s principal executive offices

were located in Florida, where defendant Honig was also located and exercised undue influence

over the Company’s management; (v) Riot never intended to hold its Annual Meeting scheduled

for December 28, 2017 and rescheduled for February 1, 2018; and (vi) the Company failed to

maintain adequate internal controls. Accordingly, the Officer Defendants breached their duty of

care and loyalty to Riot.

       116.    The Director Defendants, as directors of the Company, owed and owe Riot the

highest duty of loyalty. The Director Defendants breached their duty of loyalty by causing or

allowing defendants to make improper statements in the Company’s press releases and public

filings concerning the Company’s blockchain operations, location, Annual Meeting, and

relationships with Company insiders. The Director Defendants knew or were reckless in not

knowing that: (i) the Company lacked a meaningful cryptocurrency business plan; (ii) Riot had




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minimal investments in cryptocurrency products; (iii) the Company changed its name from Bioptix

to Riot merely as a stunt to fraudulently avail itself of the profits caused by the current

cryptocurrency wave and artificially inflate its stock price; (iv) Riot’s principal executive offices

were located in Florida, where defendant Honig was also located and exercised undue influence

over the Company’s management; (v) Riot never intended to hold its Annual Meeting scheduled

for December 28, 2017 and rescheduled for February 1, 2018; and (vi) the Company failed to

maintain adequate internal controls. Accordingly, the Director Defendants breached their duty of

loyalty to the Company.

       117.    The Audit Committee Defendants breached their fiduciary duty of loyalty by

approving the statements described herein which were made during their tenure on the Audit

Committee, which they knew or were reckless in not knowing contained improper statements and

omissions. The Audit Committee Defendants completely failed in their duty of oversight, and

failed to uphold their duty to appropriately review financial results, as required by the Audit

Committee Charter in effect at the time.

       118.    The Insider Selling Defendants breached their duties of loyalty by selling Riot stock

on the basis of the knowledge of the improper information described above before that information

was revealed to the Company’s stockholders. The information described above was proprietary,

nonpublic information concerning the Company’s future business prospects, which the Insider

Selling Defendants used for their own benefit when they sold Riot common stock.

       119.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary duties of loyalty, good faith, candor and due care, as alleged herein, Riot has sustained,

and continues to sustain, significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.




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                                          COUNT TWO
                               Against the Individual Defendants
                                    for Unjust Enrichment
        120.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

fully set forth herein.

        121.    By their wrongful acts and false and misleading statements and omissions of

material fact, the Individual Defendants were unjustly enriched at the expense and to the detriment

of Riot.

        122.    The Individual Defendants either benefitted financially from the improper conduct

by, (1) receiving unjustly lucrative bonuses tied to the false and misleading statements,

(2) receiving bonuses, stock options, or similar compensation from Riot that was tied to the

performance or artificially inflated valuation of Riot, or (3) receiving compensation that was unjust

in light of the Individual Defendants’ bad faith conduct.

        123.    Plaintiffs, as stockholders and representatives of Riot, seek restitution from the

Individual Defendants and seek an order from this Court disgorging all profits obtained by the

Individual Defendants resulting from their wrongful conduct and breach of fiduciary duties.

                                        COUNT THREE
                               Against the Individual Defendants
                                for Waste of Corporate Assets

        124.    Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

fully set forth herein.

        125.    By their wrongful acts and material misstatements and/or omissions described

herein, the Individual Defendants have wasted Riot’s corporate assets by forcing the Company to

expend much needed, valuable assets in defending the securities class actions.




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       126.    The Individual Defendants have also caused the Company to waste its assets on the

inordinately large sums paid to certain officers and directors while they were breaching their

fiduciary duties to Riot.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand judgment as follows:

       A.      Declaring that Plaintiffs may maintain this derivative action on behalf of Riot and

that Plaintiffs are proper and adequate representatives of the Company;

       B.      Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties;

       C.      Granting appropriate equitable relief to remedy Individual Defendants’ breaches of

fiduciary duties, including, but not limited to the institution of appropriate corporate governance

measures;

       D.      Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.




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                                      JURY DEMAND

      Plaintiffs hereby demand a trial by jury.

DATED: October 22, 2018                     Respectfully submitted,


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